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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

JYQWAVOUS WHITAKER,

            Plaintiff,                          CIVIL ACTION FILE
v.                                              NO. 1:21-CV-03781-AT-JSA

SHERIFF VICTOR HILL, in his
individual and official capacities, as
Sheriff of Clayton County Georgia and
RAYMON SHEROD WINN, in his
individual capacity, as a Clayton County
Deputy Sheriff.

            Defendants.


       DEFENDANT’S MOTION TO STAY ALL DISCOVERY AND
             MEMORANDUM OF LAW IN SUPPORT

      COMES NOW Defendant Raymon Sherod Winn (“defendant”), and

pursuant to Federal Rule of Civil Procedure 26(d) and L.R. 26.1, respectfully

moves this Court for an order staying all discovery in this action, including

disclosures pursuant to FED. R. CIV. P. 26 and L.R. 16.1 and 16.2, pending a final

ruling on defendant’s motion to dismiss plaintiff’s complaint. As grounds for this

motion, defendant shows the following:
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                             I.    INTRODUCTION

      Defendant has filed a motion to dismiss based on the allegations contained

in plaintiff’s complaint.   In his motion, defendant seeks an order dismissing

plaintiff’s claims and the complaint for failure to exhaust administrative remedies

under the PLRA. As such, depending on the Court’s ruling, plaintiff’s claims may

be dismissed, thereby rendering discovery unnecessary.          In the interests of

efficiency and justice, and to prevent undue burden and expense, defendant now

requests that all discovery, including disclosures pursuant to FED. R. CIV. P. 26 and

L.R. 26.1, be stayed pending the Court’s consideration of and ruling on his motion

to dismiss.

         II.    ARGUMENT AND CITATION TO AUTHORITY

      This Court has broad discretion to control discovery. Indeed, Rule 26(d) of

the Federal Rules of Civil Procedure provides the Court broad discretion to alter

the sequence of discovery “for the convenience of the parties . . . and in the

interests of justice.” FED. R. CIV. P. 26(d); see also Panola Land Buyers Ass’n v.

Shuman, 762 F.2d 1550, 1558-59 (11th Cir. 1985) (court has “broad discretion to

stay discovery until the district court rules on a pending dispositive motion”).

Pursuant to this authority, it is proper for a trial court to stay discovery while a

dispositive motion is pending. Horsley v. Feldt, 304 F.3d 1125, 1131 n.2 (11th

Cir. 2002) (ruling that stay of discovery was proper pending district court’s


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disposition of a motion for judgment on the pleadings that challenged the

sufficiency of the complaint’s allegations); Chudasma v. Mazda Motor Corp., 123

F.3d 1353, 1367 (11th Cir. 1997) (holding that stay of discovery was proper

pending district court’s resolution of motion based on failure to state a claim for

relief).

       In exercising its discretion, this Court should stay discovery in this matter,

thereby relieving the parties from having to expend time and resources on

discovery pending a ruling on defendant’s motion to dismiss. A stay of discovery

is warranted given the potentially dispositive argument of failure to exhaust

administrative remedies under the PLRA. See, e.g., Holtzclaw v. Morales, No.

CV416-068, 2017 U.S. Dist. LEXIS 2274, at *2 (S.D. Ga. Jan. 6, 2017) (granting

stay of discovery where defendants moved to dismiss based on plaintiff’s failure to

exhaust his administrative remedies under the PLRA prior to bringing suit).

       Any discovery conducted before such a ruling would likely be overly broad

and encompass claims which are subject to dismissal. As the Eleventh Circuit has

noted, “[e]xperience teaches that, unless cases are pled clearly and precisely, issues

are not joined, discovery is not controlled, the trial court’s docket becomes

unmanageable, the litigants suffer, and society loses confidence in the court’s

ability to administer justice.” Anderson v. Dist. Bd. Of Trs. of Cent. Fla. Cmty.

Coll., 77 F.3d 364, 366-67 (11th Cir. 1996). The purpose of discovery is not “to


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enable a plaintiff to make a case when [his] complaint has failed to state a claim.”

Butler v. Sukhoi Co., 579 F.3d 1307, 1315 (11th Cir. 2009) (citing Kaylor v.

Fields, 661 F.2d 1177, 1184 (8th Cir. 1981)). Rather, “[d]iscovery should follow

the filing of a well-pleaded complaint.” Kaylor, 661 F.2d at 1184.

      In his motion, defendant has demonstrated to the Court that under no

circumstances can he be held liable to plaintiff on his asserted claims in the

complaint. Because defendant’s motion is limited to those well-plead allegations

in plaintiff’s complaint, there is no need for discovery at the present time as no

factual development is necessary for the Court to pass upon the sufficiency of

plaintiff’s claims against him. Mullins v. M.G.D. Graphics Systems Group, 867

F.Supp. 1578, 1579 (N.D. Ga. 1994) (“the Court must presume, for purposes of

this motion, that all well-pleaded factual allegations of the Complaint are true and

all contravening assertions in the movant’s pleadings are false.”).

      For these reasons, an order staying all discovery, including disclosures and

planning conferences pursuant to FED. R. CIV. P. 26 and L.R. 26.1, will protect all

parties from expending time, effort, and resources on potentially irrelevant claims

or issues.




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                              III.   CONCLUSION

      For the foregoing reasons, defendant respectfully requests that the Court

grant his motion and stay all discovery in this matter pending the Court’s

consideration of and ruling on his motion to dismiss plaintiff’s complaint.

                                       FREEMAN MATHIS & GARY, LLP

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                    CERTIFICATE OF COMPLIANCE

      I hereby certify, pursuant to Local Rule 7.1(D), that the foregoing

memorandum of law has been prepared in accordance with Local Rule 5.1(C)

(Times New Roman font, 14 point).

      This 2nd day of December, 2021.

                                    FREEMAN MATHIS & GARY, LLP

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                         CERTIFICATE OF SERVICE

      I hereby certify that I have served the foregoing DEFENDANT’S

MOTION TO STAY ALL DISCOVERY AND MEMORANDUM OF LAW

IN SUPPORT to the Clerk of Court using the CM/ECF system which will

automatically send electronic mail notification of such filing to counsel of record:

                                Wayne B. Kendall
                                Kimberly Ellison
                             Wayne B. Kendall, P.C.
                           155 Bradford Square, Suite B
                             Fayetteville, GA 30215

      This 2nd day of December, 2021.


                                       /s/ A. Ali Sabzevari
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